Case 3:09-cv-00298-N Document 1289 Filed 03/15/11 Pagelof2 PagelD 28917

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,
Vs

STANFORD INTERNATIONAL BANK,
LTD., STANFORD GROUP COMPANY,
STANFORD CAPITAL
MANAGEMENT, LLC, R, ALLEN
STANFORD, JAMES M. DAVIS,
LAURA PENDERGEST-HOLT,
GILBERTO LOPEZ, MARK KUHRT
AND LEROY KING

Case No. 3:09-cv-0298-N

Defendants,
and
STANFORD FINANCIAL GROUP
COMPANY and THE STANFORD
FINANCIAL GROUP BLDG INC.

Relief Defendants.

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STIPULATION
Receiver Ralph S. Janvey and BDO USA, LLP (“BDO”) have agreed and do hereby
stipulate that the date and time for BDO to respond to the Subpoena the Receiver served on BDO
on March 1, 2011 shall be and hereby is extended from March 15, 2011, 5:00 p.m. to April 14,

2011, 5:00 p.m.

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